
USCA1 Opinion

	





          April 27, 1995                                [Not for Publication]
                                [Not for Publication]                            United States Court of Appeals
                            United States Court of Appeals                                For the First Circuit
                                For the First Circuit                                 ____________________        No. 94-2160                                  JAMES W. SEIFART,                                Plaintiff, Appellant,                                          v.                           HERBERT R. SKANE, ADMINISTRATOR,                     MASSACHUSETTS STATE CARPENTERS PENSION FUND,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                       [Hon. Rya W. Zobel, U.S. District Judge]
                                           ___________________                                 ____________________                                        Before                                Boudin, Circuit Judge,
                                        _____________                        John R. Gibson,* Senior Circuit Judge,
                                         ____________________                              and Stahl, Circuit Judge.
                                         _____________                                 ____________________            Frank J. McGee for appellant.
            ______________            James  F.  Grosso with  whom  Orally  &amp;  Grosso was  on  brief for
            _________________             _________________        appellee.                                 ____________________                                 ____________________        ____________________        *Of the Eighth Circuit, sitting by designation.



                      STAHL,  Circuit Judge.    Pursuant to  29 U.S.C.   
                      STAHL,  Circuit Judge.
                              _____________            1132(a)(1)(B),  James W. Seifart  brought this action against            the  Administrator  of  the  Massachusetts  State  Carpenters            Pension  Fund  ("Fund"), Herbert  R.  Skane, challenging  the            denial of  disability benefits.   The district  court granted            Skane's motion for summary judgment.  We reverse.                                          I.
                                          I.
                                          __                      The parties do not dispute  the facts.  Seifart,  a            carpenter, is  a member  of the International  Brotherhood of            Carpenters and Joiners of  America ("the union").   Until May            31,  1983,  Seifart worked  for  employers  who made  pension            contributions on his behalf pursuant to collective-bargaining            agreements  with  the union.    During  this period,  Seifart            accumulated 8.9 pension credits and 9.6 vesting credits.                      After May 31,  1983, Seifart began employment  with            the  Boston Housing Authority ("BHA").  On May 8, 1991, while            still working for BHA, Seifart became disabled.   In November            of that  year, Seifart  applied to  the  Fund for  disability            pension.  By  letter dated  November 14,  1991, Skane  denied            disability  benefits  on  the  basis  that  Seifart  had  not            accumulated 140 hours of  pension credits within a thirty-six            month  period prior to the  date of his  disability, as Skane            claimed  the  union's  pension  plan  ("the Plan")  required.            Seifart  began  the   present  proceedings  in  Massachusetts            superior court.    Skane  removed to  federal  court.    Both                                         -2-
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            parties moved for summary  judgment and, as noted  above, the            district  court  entered judgment  for  Skane.   This  appeal            followed.                                         II.
                                         II.
                                         ___                      Our review of a summary judgment motion is plenary,            taking  the  record  in  the  light  most  favorable  to  the            nonmovants and  indulging all reasonable inferences  in their            favor.  Garside v. Osco Drug, Inc., 895 F.2d 46, 48 (1st Cir.
                    _______    _______________            1990).   Summary  judgment  is appropriate  if  "there is  no            genuine issue as to any material  fact and . . .   the moving            party is entitled to a judgment as a matter of law."  Fed. R.            Civ. P. 56(c).                        Where, as  here, the administrator or  fiduciary of            an  ERISA-regulated  plan  has  "discretionary  authority  to            determine eligibility  for benefits or to  construe the terms            of  the plan," we set  aside a fiduciary's  decisions only if            they are arbitrary and capricious.   Firestone Tire &amp;  Rubber
                                                 ________________________            Co. v. Bruch, 489 U.S. 101, 115 (1989).
            ___    _____                      The benefit provisions  of an ERISA-regulated  plan            are interpreted under principles  of federal substantive law.            Bellino v.  Schlumberger Technologies, Inc., 944  F.2d 26, 29
            _______     _______________________________            (1st Cir. 1991).  Contract language  in an ERISA action is to            be given its plain  meaning, Hughes v. Boston Mut.  Life Ins.
                                         ______    ______________________            Co., 26  F.3d 264, 267-68 (1st  Cir. 1994), and  a court must
            ___            give  reasonable effect  to  all terms  and conditions,  see,
                                                                     ___                                         -3-
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            e.g., Rodriguez-Abreu v. Chase  Manhattan Bank, 986 F.2d 580,
            ____  _______________    _____________________            586 (1st Cir. 1993).                      At  the   heart  of  this   controversy  lies   the            interpretation of section  3.10(b) of the  Plan.  Under  that            provision, a  participant may retire on  a disability pension            if:                      He  has  become disabled,  as hereinafter                      defined,  after  he  has  accumulated  at                      least  10 Pension  Credits or  10 Vesting                      Credits, which may  include a maximum  of                      one Pension Credit  or one Vesting Credit                      granted  under  Section  4.01(c)(II),  of                      which  140 hours  of such  Pension Credit                      was  accumulated  in the  36-month period                      prior to the date of disability.                      Under the provisions of  the Plan, Seifart  accrued            vesting credits, but not pension credits, for his years  with            BHA.    Accordingly,  Seifart  argues, he  has  16.9  vesting            credits -- a point conceded by Skane in his brief -- and thus            qualifies  under the  language of  the Plan.    Skane argues,            however, that section 3.10(b) sets out a two-prong test:  (1)            a  participant  must  accumulate  the  requisite  pension  or            vesting credits, and  (2) 140 hours  of pension credits  must            have  been earned within  the thirty-six months  prior to the            date  of disability.1    Skane argues  that, because  Seifart            earned no pension credits while working for the BHA, he fails            the second prong.                                
            ____________________            1.  The   district  court  apparently   agreed  with  Skane's            interpretation of the Plan's language.                                         -4-
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                      We think Skane's reading  flies in the face  of the            plain  language of the Plan.   Under the  Plan, a participant            may  qualify for  disability  retirement benefits  by earning            pension  credits  or   vesting  credits;  if   a  participant
                              __            qualifies  by means  of  pension credits,  then the  140-hour            requirement obtains.   Here,  the parties agree  that Seifart            has earned more than ten vesting credits.  Under the language            of the Plan, then, Seifart qualifies without reference to the            pension credit requirements.                      Interpreting a contract in a manner contrary to its            clear  language is arbitrary  and capricious.   See, e.g., De
                                                            ___  ____  __            Nobel  v. Vitro Corp., 885  F.2d 1180, 1188  (4th Cir. 1989).
            _____     ___________            Skane did just that in this case, and accordingly, we reverse            the decision of the district court.   That said, we note that            the district court appears to have addressed this case on the            premise   that  the  140-hour   requirement  applied  to  the            appellant.  There is  even a trace of this assumption  in the            appellant's  brief on  appeal,  and the  appellee takes  this            position   for   granted.      We  find   the   purpose   and            interconnection  of  the  pertinent  provisions  difficult to            discern.   We have decided this case in light of what appears            to us to be the plain language of the plan, but the fact that            the parties have not discussed the seemingly crucial language            on which  we base our holding  leads us to  invite a petition            for reconsideration if  there is some reason why the language                                         -5-
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            should be taken to mean something that it does  not appear to            say.                                         III.
                                         III.
                                         ____                      For  the  foregoing reasons,  the  decision of  the            district court is                      reversed.
                      reversed.
                      ________                                         -6-
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